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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                           CASE NO.: 1:05cr39-SPM/AK
                                                        1:06cr20-SPM/AK
GERALD JEROME RAYMOND,

           Defendant.
____________________________/

                     ORDER ON FINANCIAL AFFIDAVIT

      Attorney William E. Bubsey has already been appointed to represent

Defendant in the North Carolina and Georgia transfer cases. The Court has

reviewed Defendant Raymond’s financial affidavit (doc. 241) subsequent to that

appointment and finds that Defendant Raymond qualifies for appointment of

counsel. Therefore, Attorney William E. Bubsey shall remain as Defendant

Raymond’s court appointed counsel.

      SO ORDERED this 10th day of August, 2006.


                                   s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
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